 

 

Case 5:99-cv-00914-WRF Document 243 Filed 12/12/06 Page 1of5

FILED

UNITED STATES DISTRICT COURT DEC 12 2006

   

WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION aan

UNITED STATES OF AMERICA,
ex. rel. JANAKI RAMADOSS, et al.,

Plaintiffs,
No. SA 99CA0914RF

Vv.

CAREMARK INC., et al.,

CR Tr? Sr OP Or SH SH Wr KH We

Defendants.

SPECIAL MASTER’S RECOMMENDATIONS WITH RESPECT TO
CAREMARK’S MOTION TO COMPEL RESPONSES TO SECOND SET OF
INTERROGATORIES AND REQUESTS FOR DOCUMENTS AND

. FIRST SET OF REQUESTS FOR ADMISSIONS

 

TO THE HONORABLE JUDGE FERGUSON:

Before the Special Master is Caremark’s Motion to Compel Responses to
Second Set of Interrogatories and Requests for Documents and First Set of Requests for
Admissions. Caremark’s Motion and its supplements ask the Court to compel the
discovery of information pertaining to rebates received by the Government from
pharmaceutical companies for prescription benefits paid by Medicaid and other
governmental programs. Plaintiffs have filed responses to the Motion and its
supplements, and the matter was heard in Austin, Texas on August 2 and 23, 2006.
For the reasons set forth below, the Special Master recommends that the Court DENY
Caremark’s Motion.

Plaintiffs have sued Caremark for making false claims or reverse false claims to

a number of state governments and the federal government as part of Caremark’s denial

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Case 5:99-cv-00914-WRF Document 243 Filed 12/12/06 Page 2 of 5

of requests for reimbursement of amounts paid by Plaintiffs as prescription drug
benefits under Medicaid and other governmental programs. According to Plaintiffs,
“Caremark violated the False Claims Act by illegally applying procedural plan
restrictions to government requests for reimbursement - in essence, knowingly
thwarting the government’s ability to recoup prescription drugs [sic.] costs that should
have been paid for by the private health plans administered by Caremark.” Plaintiffs’
Summary of the Case to Special Master Karl Bayer, at 2. Caremark, on the other
hand, argues that to the extent it denied claims for reimbursement, it did so on the basis
of plan restrictions which would have mandated denial had the claims been submitted
by the individuals who assigned their right to recovery to the governmental program
seeking reimbursement; “the plain language of the applicable statutes equates the
government with the individual beneficiary by allowing the government to seek
reimbursement to the extent of the plan’s legal liability to the individual beneficiary.”
Caremark’s Summary of the Case, at 3.

Caremark promulgated the discovery at issue to inquire into certain rebate
programs pursuant to which the Plaintiffs received rebates from drug manufacturers in
exchange for guarantees that the drugs in question would be available to governmental
beneficiaries. In other words, certain drug manufacturers paid rebates to Plaintiffs
against the cost of the drugs covered by Medicaid or other governmental programs,
which cost Medicaid had already borne when it applied for the rebates. Plaintiffs’
Response to Defendants’ Motion to Compel Responses to “Rebate Discovery,” at n.2;

Plaintiffs’ Supplemental Response to Defendants’ Motion to Compel “Rebate
 

Case 5:99-cv-00914-WRF Document 243 Filed 12/12/06 Page 3 of 5

Discovery,” at 6. The amount Medicaid pays pharmacies for prescription drugs is
certain as of the date payment is made, pursuant to state-specific payment formulas.
Plaintiffs’ Supplemental Response to Defendants’ Motion to Compel “Rebate
Discovery,” at 6. Medicaid rebate amounts are not identified and reported until the
close of each quarter, and the drug manufacturer has up to three years after this initial
report to request a recalculation. /d., at 7-8. Medicaid rebate reimbursement, in other
words, takes place significantly after Medicaid has paid the pharmacist for the
prescription drug benefit, and it does not directly impact the amount Medicaid is
required to pay individual pharmacists for the drugs.

The Court has bifurcated the trial of this matter; damages issues are not before
the Court at this time. Caremark claims entitlement to the rebate information in the
liability phase of the trial, however, based on its contention that the rebate information
goes to the issue of whether a reimbursement obligation existed at the time the alleged
false statement was made. Caremark’s Brief on Obligation Requirement Under Reverse
False Claims Provision, at 2. According to Caremark, it could only be required to
reimburse amounts Plaintiffs actually paid for drugs under the Caremark administered
plans, after rebates for those drugs had been factored in to the total. In other words,
Caremark claims that the potential triggering existing obligation must be net of the
rebates. Since Plaintiffs, according to Caremark, submitted gross claim amounts to
Caremark (i.e. the amounts paid to the pharmacies without taking into account potential
rebates from drug manufacturers tied to the dispensation of the specific drugs in

question), “those claims could not have constituted a sufficiently certain obligation,”

 
 

Case 5:99-cv-00914-WRF Document 243 Filed 12/12/06 Page 4 of 5

 

and that without a sufficiently certain obligation NO STATEMENT could be false (or
even true, for that matter). Jd., at 2-3.

The Special Master is unpersuaded by Caremark’s argument. Based on the
record submitted, there is no evidence that the denial of requests for reimbursement
which is the basis of this action was based on Plaintiffs’ submitting gross, pre-rebate
requests for reimbursement. The rebate issue was apparently never a reason for
Caremark’s refusal to pay claims; it is an issue that has arisen subsequent to the
initiation of this litigation. In this case, the Special Master, following Judge Campbell
in Tennessee and without advice from this Court, the Western District or the Fifth
Circuit, feels constrained to find that the relevant analysis must take place within the
context of the assignment of rights which existed at the time the beneficiary requested
covered goods and services. Similarly, the question of whether or not Caremark
committed a violation of the False Claims Act must be evaluated with respect to the
actual basis for Caremark’s refusal to pay claims, not potential bases for refusal to pay
claims which may have existed but which were not asserted.

This is not to say that rebate information could never be discoverable. Like
Caremark, the Special Master reads Plaintiffs’ briefing as a tacit admission that gross
amounts, rather than rebate-netted amounts, were submitted to Caremark for
reimbursement. That being the case, Caremark may well be able to assert claims
making rebate information discoverable at a later stage in this litigation. Furthermore,
if and to the extent Caremark can establish that the rebate issue was the basis for its

refusal to reimburse at the time the refusal was made, the Special Master will revisit

 
 

 

Case 5:99-cv-00914-WRF Document 243 Filed 12/12/06 Page 5of5

Caremark’s Motion to Compel. At this time, however, since Caremark has not
asserted any counterclaims based on the rebate information, and since the rebate issue
was apparently never an issue at the time Caremark actually refused to pay the claims
which form the basis of this lawsuit, the Special Master fails to see how the rebate
information is discoverable, given the current bifurcation’. A potentially valid basis for
refusing to pay claims that perhaps ought to have been asserted when the claims were
presented for payment does not have any bearing on whether or not the basis actually
asserted for refusing to pay claims was valid. Accordingly, the Special Master
RECOMMENDS that Caremark’s Motion to Compel Responses to Second Set of
Interrogatories and Requests for Documents and First Set of Requests for Admissions

be DENIED.
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’ Some of Plaintiffs’ own discovery requests trouble the Special Master as getting close
to opening the door for discovery of rebate information even in the liability phase, and
information obtained in depositions may well allow the Special Master to revisit the
discoverability of rebate information.
